Entered: March 21st, 2019
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Signed: March 20th, 2019

SO ORDERED
NO TIMELY OPPOSITION FILED.




                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MARYLAND
                                          BALTIMORE DIVISION

         IN RE:                                         BCN#: 19-11035
         RONALD L SMITH AND ELEANOR D
         SMITH                                          Chapter: 7
                 Debtors
         NATIONSTAR MORTGAGE LLC D/B/A MR.
         COOPER
         and its assignees and/or
         successors in interest,
                 Movant/Secured Creditor,
         v.
         RONALD L SMITH
         AND
         ELEANOR D SMITH
                 Debtors
         and
         GEORGE W. LIEBMANN
                 Trustee
                 Respondents


                                              ORDER LIFTING
                                             AUTOMATIC STAY

                   THE COURT having considered the Motion of Nationstar Mortgage LLC d/b/a Mr.

         Cooper for Relief from the Automatic Stay of 11 U.S.C. § 362 (a), the lack of opposition

         thereto and the record herein;

                   IT IS ORDERED, that the automatic stay imposed by 11 U.S.C. §362(a) be lifted,

         as to Nationstar Mortgage LLC d/b/a Mr. Cooper, holder of a certain promissory note

         evidencing an indebtedness established by the lien of a Deed of Trust, so as to enable it


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to exercise its rights under state law as to a property with the address of 414 Trimble

Road, Joppa, MD 21085, and recorded among the Land Records of the Coutny of

Harford, Maryland in Book 4926 at Page 0192. Subsequent to such sale, the Movant

may take all lawful actions in accordance with state law, to take possession of the

property, and shall provide a copy of the Report of Sale and all Audit Reports to the

Bankruptcy Trustee if there is a surplus over and above the debt owed to the foreclosing

noteholder.

I ask for this:


/s/ Renee Dyson
William M. Savage, Esquire
Federal I.D. Bar No. 06335
Kristine D. Brown, Esquire
Federal I.D. Bar No. 14961
Thomas J. Gartner, Esquire
Federal I.D. Bar No. 18808
Gregory N. Britto, Esquire
Federal I.D. Bar No. 22531
Renee Dyson, Esquire
Federal I.D. Bar No. 15955
Malcolm B. Savage, III, Esquire
Federal I.D. Bar No. 20300
Nicole Lipinski, Esquire
Federal I.D. Bar No. 19283




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                                 Copies are to be sent to:

1.    SHAPIRO & BROWN, LLP
      10021 BALLS FORD ROAD, SUITE 200
      MANASSAS, VA 20109

2.    Ronald L Smith and Eleanor D Smith
      414 Trimble Road                                                Debtor(s)
      Joppa, MD 21085

3.    GEORGE W. LIEBMANN
      LIEBMANN & SHIVELY, P.A.
      8 W. HAMILTON STREET
      BALTIMORE, MD 21201                                             Trustee


4.    Edward C. Christman, Jr.
      Christman & Fascetta, LLC
      810 Gleneagles Court
      Suite 301                                                       Debtor's
      Towson, MD 21286                                                Attorney




                                    END OF ORDER




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